                 Case 1:17-cr-00040-LJV-JJM Document 165 Filed 07/29/20 Page 1 of 1


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                                                   July 29, 2020


         Hon. Lawrence J. Vilardo
         U.S. District Court Judge
         United States Courthouse
         2 Niagara Square
         Buffalo, NY 14203


                           Re: United States v. Lawrence Russell, 17 CR 40; 18 CR 105


         Dear Judge Vilardo:


                On July 20, 2020, the Court received a letter from Lawrence Russell’s girlfriend, Tamala
         Daniel, requesting that Mr. Russell be considered for compassionate release. The federal
         defender’s office was then asked if it would be filing any formal submissions in relation to this
         request. I was assigned by my office to review Mr. Russell’s original compassionate release
         request.

                After reviewing medical and court documents and after speaking with Ms. Daniel and
         Mr. Russell, I will not be filing a formal, supplemental motion in his case. Please let me know if
         you have any questions or concerns.



                                                      Sincerely,



                                                      Steven G. Slawinski
                                                      Assistant Federal Public Defender
